                  Case 2:17-cr-00023-DAD Document 63 Filed 12/06/17 Page 1 of 4



 1 TONI H. WHITE (SBN 210119)
   ATTORNEY AT LAW
 2 11930 Heritage Oak Place, Suite 6
   Auburn, CA 95603
 3 Telephone: (530) 885-6244
   Facsimile: (530) 885-8245
 4

 5 Attorney for Defendant
   DEBORAH POLLARD
 6

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                  CASE NO. 2:17-CR-00023 TLN
12                                          Plaintiff,          STIPULATION REGARDING
                                                                CONTINUANCE OF STATUS
13   v.                                                         CONFERENCE; FINDINGS AND
                                                                ORDER
14   CURTIS PHILLIPS, CHARLES RAY
     GOODMAN, DEBORAH LYNN POLLARD,
15   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY
16
                                            Defendants.
17

18
               Defendant, CURTIS PHILLIPS, by and through his counsel of record, OLAF HEDBERG,
19
     Defendant, CHARLES RAY GOODMAN, by and through his counsel of record, MICHAEL
20
     LONG, Defendant DEBORAH POLLARD, by and through her counsel of record, TONI WHITE,
21
     CONWAY PHILLIPS, JR., by and through his counsel of record, STEVE PLESSER, Defendant
22
     ELO WILLIE WADLEY, by and through his counsel of record, TODD LERAS and the
23
     GOVERNMENT, by and through Assistant United States Attorney JASON HITT, hereby stipulate
24
     as follows:
25

26

27

28
                                                            1
          Stipulation and Order for Continuance of Status
          Hearing and for Exclusion of Time
                  Case 2:17-cr-00023-DAD Document 63 Filed 12/06/17 Page 2 of 4



 1           1.        By previous order, this matter was set for status on December 7, 2017.

 2           2.        By this stipulation, defendants now move to continue the status conference until

 3 February 8, 2018, at 9:30 a.m., and to exclude time between December 7, 2017 and February 8, 2018

 4 under Local Code T4. The GOVERNMENT does not oppose this request.

 5           3.        The parties agree and stipulate, and request that the Court find the following:

 6                     a.        The United States has provided 687 pages of investigative reports along with

 7 three discs of recordings and other materials. This is a drug conspiracy case which includes the use

 8 of confidential sources, controlled purchases and a court-authorized wiretap of a pager and two cell

 9 phones. Defense counsel needs additional time to review the voluminous discovery, to conduct their

10 own investigations regarding potential defenses in the case, to meet with their clients and to discuss

11 the case further with the prosecutor.

12                     b.        Counsels for defendants believe that failure to grant the above-requested

13 continuance would deny counsels the reasonable time necessary for effective preparation, taking into

14 account the exercise of due diligence.

15                     c.        The GOVERNMENT does not object to the continuance.

16                     d.        The GOVERNMENT and counsel for each defendant are working toward

17 resolution of the case while they prepare for the possibility of trial.

18                     g.        Based on the above-stated findings, the ends of justice served by continuing

19 the case as requested outweigh the interest of the public and the defendant in a trial within the

20 original date prescribed by the Speedy Trial Act.

21                     g.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

22 § 3161, et seq., within which trial must commence, the time period of December 7, 2017 and

23 February 8, 2018 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)

24 [Local Code T4] because it results from a continuance granted by the Court at defendants’ request on

25 the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

26 best interest of the public and the defendant in a speedy trial.

27

28
                                                            2
        Stipulation and Order for Continuance of Status
        Hearing and for Exclusion of Time
                 Case 2:17-cr-00023-DAD Document 63 Filed 12/06/17 Page 3 of 4



 1          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

 2 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3 a trial must commence.

 4

 5          IT IS SO STIPULATED.

 6          Dated: December 4, 2017                           PHILLIP A. TALBERT
                                                              Acting United States Attorney
 7
                                                              By:    /s/ Toni White for
 8
                                                              JASON HITT
 9                                                            Assistant U.S. Attorney

10                                                            For the United States
11          Dated: December 4, 2017                           By:  /s/ Toni White _
                                                              OLAF HEDBERG
12

13                                                            For Defendant Curtis Phillips

14          Dated: December 4, 2017                           By:  /s/ Toni White _
                                                              MICHAEL LONG
15
                                                              For Defendant Charles Goodman
16
            Dated: December 4, 2017                           By:  /s/ Toni White _
17                                                            TONI WHITE
18
                                                              For Defendant Deborah Pollard
19
            Dated: December 4, 2017                           By:  /s/ Toni White _
20                                                            STEVE PLESSER
21                                                            For Defendant Conway Phillips, Jr.
22

23          Dated: December 4, 2017                           By:  /s/ Toni White _
                                                              TODD LERAS
24
                                                              For Defendant Elo Willie Wadley
25

26

27

28
                                                          3
       Stipulation and Order for Continuance of Status
       Hearing and for Exclusion of Time
             Case 2:17-cr-00023-DAD Document 63 Filed 12/06/17 Page 4 of 4



 1

 2                                                     ORDER

 3        IT IS SO FOUND AND ORDERED this 5th day of December, 2017.

 4

 5

 6

 7
                                                               Troy L. Nunley
 8                                                             United States District Judge

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         4
     Stipulation and Order for Continuance of Status
     Hearing and for Exclusion of Time
